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12

13                                     UNITED STATES DISTRICT COURT

14                                    NORTHERN DISTRICT OF CALIFORNIA

15                                            SAN FRANCISCO DIVISION

16 HUAWEI TECHNOLOGIES CO., LTD., et al., CASE NO. 16-cv-02787-WHO

17                      Plaintiffs,                        DECLARATION OF GUANBIN XIEIN
                                                           SUPPORT OF SAMSUNG'S MOTION TO
18                v.                                       ENJOIN HUAWEI FROM ENFORCING
                                                           THE INJUNCTION ISSUED BY THE
19 SAMSUNG ELECTRONICS CO., LTD., et al.,                  INTERMEDIATE PEOPLE'S COURT OF
                                                           SHENZHEN
20                      Defendants.

21
   SAMSUNG ELECTRONICS CO., LTD. &                         REDACTED VERSION OF DOCUMENT
22 SAMSUNG ELECTRONICS AMERICA, INC.,                      SOUGHT TO BE SEALED
23                 Counterclaim-Plaintiffs,

24           v.

25 HUAWEI TECHNOLOGIES CO., LTD,
   HUAWEI DEVICE USA, INC., HUAWEI
26 TECHNOLOGIES USA, INC. & HISILICON
   TECHNOLOGIES CO., LTD.,
27
   Counterclaim-Defendants.
28

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  1          I, Guanbin Xie, declare as follows:
  2          1.     I am an attorney at the law firm of Lifang Partners, counsel for Samsung's Chinese
  3 affiliates. I submit this declaration in support of Samsung's Motion To Enjoin Huawei from

  4 Enforcing the Injunction Issued by the Intermediate People's Court of Shenzhen. I have personal

  5 knowledge of the facts set forth in this declaration and, if called upon as a witness, I could and

  6 would testify to such facts under oath.

  7 Overview of Huawei's Litigation Against Samsung in China

  8         2.      Since May 25, 2016, Huawei has filed a total of twenty-onelawsuits against
  9 Samsung in the People's Republic of China ("China"), including thirteen standard-essential patent

10 ("SEP") infringement suits, seven non-standard-essential patent ("NSEP") infringement suits, and

11 one rate-setting and royalty payment suit.' Of those original twenty-onelawsuits, Huawei has

12 withdrawn one SEP infringement suit and two NSEP infringement suits.

13 Proceedings Before the Shenzhen Intermediate People's Court

14          3.     On May 25, 2016, Huawei Technologies Co., Ltd. ("Huawei") filed nine patent
15 infringement lawsuits against Chinese affiliates2 of Samsung Electronics Co., Ltd. ("Samsung")

16 inthe Shenzhen Intermediate People's Court ("Shenzhen Court"). Huawei Terminals Co., Ltd.

17 ("Huawei Terminals") filed an additional patent infringement lawsuit against Samsung's Chinese

18 affiliates in the Shenzhen Court on the same day. Eight of the ten lawsuits involve SEPs. In those

19 eight lawsuits, Huawei requested that the Shenzhen Court enjoin Samsung'salleged infringement,

20 and Huawei elected not to seek damages. In the other two lawsuits, both involvingNSEPs, Huawei

21 requested that the Shenzhen Court (1) enjoin the alleged infringement of Samsung's Chinese

22 affiliates, and (2) order Samsung's Chinese affiliates to pay damages of RMB 80 million and

23 expenses of RMB 500,000 for each infringed patent. Samsung's affiliates were served by

24 'As a countermeasure to the lawsuits brought by Huawei in China, Samsung has filed twenty-two
   lawsuits in response, including fourteen SEP infringement suits and eight NSEP infringement suits.
25 Of those twenty-two lawsuits, five SEP infringement suits and five NSEP infringement suits have
   since been withdrawn.
26
   2Samsung (China) Investment Co., Ltd. ("Samsung China"), Samsung Electronics Huizhou Co.,
27 Ltd. ("Samsung Huizhou"), Tianjin Samsung Communication Technology Co., Ltd., and
   Shenzhen Nanfangyunhe Technology Co., Ltd.
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  1 Shenzhen Court onJune 7, 2016.

  2            4.      On December 19-23, 2016 and January 12-13, 2017, hearings occurred in two of

  3 the SEP infringement lawsuits filed by Huawei in the Shenzhen Court. Those two lawsuits

  4 involve Chinese Patent Nos. 201010137731.2 and201110269715.3, which are

  5 counterparts,respectively, of U.S. Patent Nos. 8,885,587 and 8,369,278 asserted by Huawei in the

  6 action before this Court.At the hearing on December 19, 2016, Samsung China requested to add

  7 Samsung, its parent company, as a party because Samsung led the license negotiations with

  8 Huawei at issue in the case. The Shenzhen Court denied this request.

  9            5.     During the hearings, Huawei argued that its licensing offers were consistent with its

10 FRAND obligations. Huawei rested this argument on its assertion that its offers were consistent

11 with the relative strength of each party's patent portfolio and with the rates in licenses it argued

12 were comparable.Huawei further argued that Samsung negotiated in bad faith by refusing to pay a

13 meaningful royalty, pursuing delay, and refusing to arbitrate. Huawei also asserted that

14 Samsung's proposed royalty rates undervalued Huawei's patent portfolio and inappropriately

15 relied on the InterDigital royalty rate.

16            6.      Samsung's Chinese affiliates argued in response that Huawei violated its FRAND

17 obligations by (1) consistently insisting on applyinga                                throughout a

18 negotiation that lasted more than four years, (2) exaggerating the number of patents Huawei

19 acquired from Sharp, (3) pursuing a patent "hold up" strategy by asking for injunctions while

20 simultaneously asking a U.S. court to determine FRAND terms, and (4) asking for a royalty rate

21     not commensurate with the relative strength of the parties' patent portfolios.

22            7.      On January 11, 2018, the Shenzhen Court issued an order finding that Samsung's

23 Chinese affiliates infringe Chinese Patent Nos. 201010137731.2 and201110269715.3. The

24 Shenzhen Court entered an injunction prohibiting Samsung's Chinese affiliates from any further

25 infringement of those two patents. The Shenzhen Court made findings to support its order

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15              8.      On January 26, 2018, Samsung's Chinese affiliates filed a notice of appeal of the

16 judgment of the Shenzhen Court to the Guangdong High People's Court.

17              9.      Of the remaining six SEP infringement lawsuits filed by Huawei in the Shenzhen

18 Court, five have not yet had a hearing, and one was withdrawn on June 14, 2017.0n March 31 and

19 June 26, 2017, Huawei withdrew the two NSEP infringement lawsuits it filed in the Shenzhen

20 Court.

21              10.    In response to the ten patent infringement lawsuits filed by Huawei and Huawei

22 Terminals, Samsung filed eight SEP infringement lawsuits and two NSEP infringement lawsuits

23 against Huawei on July 8, 2016 in the Shenzhen Court. Samsung has since withdrawn four of the

24 SEP infringement lawsuits and the two NSEP infringement lawsuits. Of the four SEP

25       infringement lawsuits filed by Samsung that are currently outstanding, two have had a hearing and

26 are currently awaiting judgment, and the other two have not yet had a hearing.

27 Proceedings Before the Guangzhou Intellectual Property Court

28              11.    On May 25, 2016, Huawei Terminals filed an NSEP infringement lawsuit against

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     1    two of Samsung's Chinese affiliates3 in the Guangzhou Intellectual Property Court ("Guangzhou
     2 IP Court"). Huawei Terminals requested that the Guangzhou IP Court enjoin Samsung's alleged

     3 infringement and order that Samsung pay all litigation costs. The Guangzhou IP Court has since

     4 suspended the hearing for this lawsuit.

     5           12.     In response to the patent infringement lawsuit filed by Huawei Terminals,
     6 Samsung filed an NSEP infringement lawsuit against Huawei on July 8, 2016 in the Guangzhou IP

  7 Court. Samsung has withdrawn this case.

  8 Proceedings Before the Quanzhou Intermediate People's Court

  9             13.     On June 12, 2016, Huawei Terminals filed an NSEP infringement lawsuit against
10 Chinese affiliates4 of Samsung in the Quanzhou Intermediate People's Court ("Quanzhou Court").

11        Huawei Terminals requested that the Quanzhou Court (1) enjoin the alleged infringement of
12 Samsung's Chinese affiliates, and (2)order Samsung's Chinese affiliates to pay damages of RMB

13 80 million and expenses of RMB 500,000.

14              14.     On December 5-6 and 26-29, 2016, January 17-20, 2017, and February 16-17 and
15 20-21, 2017, hearings occurred before the Quanzhou Court in Huawei Terminals' NSEP

16 infringement lawsuit.

17              15.     On March 30, 2017, the Quanzhou Court entered judgement in Huawei Terminals'
18 favor, granting all of Huawei Terminals' litigation requests.

19              16.     On April 14, 2017, Samsung's Chinese affiliates appealed the judgment of the
20 Quanzhou Court to the Fujian High Court. The Fujian High Court held hearings on June 28, July

21       19, and August 10-11, 2017. The Fujian High Courthas confirmed the Quanzhou Court's
22 judgement.

23              17.     In response to the NSEP infringement lawsuit filed by Huawei Terminals, Samsung
24 filed an NSEP infringement lawsuit against Huawei on August 8, 2016 in the Quanzhou Court.

25 Samsung has applied to stay this case.

26       3 Samsung China and Samsung Huizhou

27       4Samsung China, Samsung Huizhou, Tianjin Samsung Communication Technology Co., Ltd., and
         Fujian Quanzhou Huayuan Electron Co., Ltd.
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     1    Proceedings Before the Beijing Intellectual Property Court
     2           18.     On July 8, 2016, and in response to the ten patent infringement lawsuits filed by
     3 Huawei and Huawei Terminals in the Shenzhen Court, Samsung filed four SEP infringement

  4       lawsuits and two NSEP infringement lawsuits against Huawei in the Beijing Intellectual Property
  5 Court ("Beijing IP Court").Samsung has since withdrawn twoof the SEP infringement lawsuits

  6 and twoof the NSEP infringement lawsuits. A hearing has not yet been held for the twoSEP

 7 infringement lawsuits currently outstanding.

 8               19.    On September 8, 2016, Huawei filed five SEP infringementlawsuits and one NSEP

 9 infringement lawsuit against Chinese affiliates5 of Samsung in the Beijing IP Court. In the five

10 SEP infringement lawsuits, Huawei requested that the Beijing IP Court enjoin the alleged

11        infringement of Samsung's Chinese affiliates. In the NSEP infringement lawsuit, Huawei
12 requested that the Beijing IP Court (1) enjoin the alleged infringement of Samsung's Chinese

13 affiliates, and (2) order Samsung's Chinese affiliates to pay damages of RMB 80 million and

14 expenses of RMB 500,000. The Beijing IP Court has dismissed Huawei's non-SEP infringement

15       lawsuit but has not yet held a hearing on the fiveSEPinfringement lawsuits filed by Huawei.
16 Proceedings Before the Xi'an Intermediate People's Court

17              20.     On July 8, 2016, and in response to the ten patent infringement lawsuits filed by

18 Huawei and Huawei Terminals in the Shenzhen Court, Samsung filed two SEP infringement

19 lawsuits and two NSEP infringement lawsuits against Huawei in the Xi'an Intermediate People's

20 Court ("Xi'an Court"). Samsung has since withdrawn the two NSEP infringement lawsuits. A

21       hearing has not yet been held for the two SEP infringement lawsuits and one NSEP infringement

22       lawsuit currently outstanding.

23              21.     On October 24, 2016, Huawei filed two NSEP infringement lawsuits against

24 Chinese affiliates6 of Samsung in the Xi'an Court. Huawei requested that the Xi'an Court (1)

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   5Samsung China, Samsung Huizhou, Tianjin Samsung Communication Technology Co., Ltd. and
26 Beijing Xingqiutong Telecom Technology Co., Ltd.

27       6 Samsung China, Samsung Huizhou, Tianjin Samsung Communication Technology Co., Ltd. and
         Beijing Zhongbaixin Software Technology Co., Ltd.
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     1    enjoin the alleged infringement of Samsung's Chinese affiliates, and (2) order Samsung's Chinese
     2 affiliates to pay damages of RMB 80 million and expenses of RMB 500,000.Huawei has

     3 withdrawn one of the non-SEP infringement lawsuit. The Xi'an Court has since resumedthe

     4 hearing for the remaining lawsuit.

     5 Proceedings Before the Guangdong High People's Court

 6               22.    On March 31, 2017, Huawei filed a FRAND rate-setting and royalty payment
 7 lawsuit against Samsung and three of Samsung's Chinese affiliates7 in the Guangdong High

 8 People's Court ("Guangdong High Court"), the superior court of Shenzhen Court, requesting that

 9 the Guangdong High Court(1) determine the royalty rates of the two parties' respective LTE

10 Chinese patent portfolios, (2) determine the royalty amount respectively payable by the two parties

11        during 2011 to 2016, and (3) order Samsung to pay Huawei an offset amount of RMB 3.2 billion,

12 expenses of RMB 3 million, and bear all legal costs. The Guangdong High Court has not yet held

13 a hearing on this lawsuit.

14               I declare under penalty of perjury under the laws of the United States of America that the
15 foregoing is true and correct to the best of my knowledge. Executed January 29, 2018, in Beijing,

16 China.

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         'Samsung China, Samsung Huizhou, andTianjin Samsung Communication Technology Co., Ltd.
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